Case 1:25-cv-20577-CMA Document 24 Entered on FLSD Docket 04/16/2025 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 25-20577-CIV-ALTONAGA/Reid

  In re:
  THE COMPLAINT OF BRP
  CORPORATE SERVICES LLC
  ______________________________/

          ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
      MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

  February 23, 2026. Calendar call will be held at 9:00 a.m. on Tuesday, February 17, 2026. No

  pre-trial conference will be held unless a party requests one, and the Court determines that one is

  necessary. The parties shall adhere to the following schedule:

         April 23, 2025. The parties shall select a mediator in accordance with Local Rule 16.2;
         schedule a time, date, and place for mediation; and jointly file a proposed order
         scheduling mediation in the form specified on the Court’s website,
         http://www.flsd.uscourts.gov. If the parties cannot agree on a mediator, they shall notify
         the Clerk in writing as soon as possible, and the Clerk shall designate a certified mediator
         on a blind rotation basis. Counsel for all parties shall familiarize themselves with and
         adhere to all provisions of Local Rule 16.2. Within seven (7) days of mediation, the parties
         are required to file a mediation report with the Court. In accordance with the procedures
         outlined in the CM/ECF Administrative Procedures, the proposed order must be emailed
         to altonaga@flsd.uscourts.gov in Word format.

         May 14, 2025. All motions to amend pleadings or join parties are filed.

         September 29, 2025. Parties exchange expert witness summaries or reports.

         October 14, 2025. Parties exchange rebuttal expert witness summaries or reports.

         October 27, 2025. All discovery, including expert discovery, is completed. 1

         November 3, 2025. Parties must have completed mediation and filed a mediation report.

         November 12, 2025. All pre-trial motions and Daubert motions (which include motions
         to strike experts) are filed. Each party is limited to filing one Daubert motion. If all

  1
    The parties by agreement, and/or Magistrate Judge Reid, may extend this deadline, so long as such
  extension does not impact any of the other deadlines contained in this Scheduling Order.
Case 1:25-cv-20577-CMA Document 24 Entered on FLSD Docket 04/16/2025 Page 2 of 3

                                                        CASE NO. 25-20577-CIV-ALTONAGA/Reid


         evidentiary issues cannot be addressed in a 20-page memorandum, leave to exceed the page
         limit will be granted. The parties are reminded that Daubert motions must contain the
         Local Rule 7.1(a)(3) certification.

         December 9, 2025. Parties must file and submit a joint pre-trial stipulation, proposed jury
         instructions and verdict form, or proposed findings of fact and conclusions of law, as
         applicable, and motions in limine (other than Daubert motions). Each party is limited to
         filing one motion in limine which may exceed the page limits allowed by the Rules. The
         parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
         certification.

         Jury Instructions and Verdict Form. The parties shall submit their proposed jury

  instructions and verdict form jointly, although they need not agree on each proposed instruction.

  Where the parties do not agree on a proposed instruction, that instruction shall be set forth in bold

  type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by

  a defendant shall be italicized. Every instruction must be supported by citation to authority. The

  parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including

  the directions to counsel contained therein. Proposed jury instructions and verdict form, in typed

  form, including substantive charges and defenses, shall be filed and submitted to the Court prior

  to calendar call, in Word format, via e-mail to altonaga@flsd.uscourts.gov. Instructions for filing

  proposed documents may be viewed at http://www.flsd.uscourts.gov.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. section 636 and this District’s

  Magistrate Judge Rules, all discovery matters are referred to Magistrate Judge Lisette M. Reid.

  Furthermore, in accordance with 28 U.S.C. section 636(c)(1), the parties may consent to trial and

  final disposition by Magistrate Judge Reid. The deadline for submitting a consent is November

  12, 2025.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines



                                                    2
Case 1:25-cv-20577-CMA Document 24 Entered on FLSD Docket 04/16/2025 Page 3 of 3

                                                       CASE NO. 25-20577-CIV-ALTONAGA/Reid


  set forth above. Stipulations that would so interfere may be made only with the Court’s approval.

  See Fed. R. Civ. P. 29. In addition to the documents enumerated in Local Rule 26.1(b), the parties

  shall not file notices of deposition with the Court. Strict compliance with the Local Rules is

  expected, particularly with regard to motion practice. See S.D. Fla. L.R. 7.1.

         Discovery Disputes. The parties shall comply with the discovery procedures provided in

  the document titled, “Standing Discovery Order for Magistrate Judge Lisette M. Reid,” available

  on the Court’s website. No written discovery motions, including motions to compel, for

  protective order, or related motions for sanctions shall be filed. Counsel must actually confer

  and engage in reasonable compromise in a genuine effort to resolve their discovery disputes before

  seeking the Court’s intervention. The Court may impose sanctions, monetary or otherwise, if it

  determines discovery is being improperly sought or is being withheld in bad faith. If, after

  conferring, the parties are unable to resolve their discovery dispute without Court intervention, the

  moving party must seek relief within fifteen (15) days of the occurrence of the grounds for relief

  by contacting Judge Reid’s Chambers by email and requesting a hearing. The requesting party

  must send an email to reid@flsd.uscourts.gov in which they shall copy all opposing counsel,

  provide a brief description of the nature of the dispute, and attach any reliance materials. Specific

  requirements for that email are outlined in the “Standing Discovery Order for Magistrate Judge

  Lisette M. Reid” document available on the Court’s website.

         DONE AND ORDERED in Miami, Florida, this 16th day of April, 2025.



                                                ________________________________________
                                                CECILIA M. ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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